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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                        ______

JOHN ALDON CORRION,

                       Petitioner,                    Case No. 1:18-cv-633
v.                                                    Honorable Robert J. Jonker
SHANE JACKSON,

                       Respondent.
____________________________/

                                ORDER OF TRANSFER
                         TO SIXTH CIRCUIT COURT OF APPEALS

               This is a habeas corpus action filed by a state prisoner under 28 U.S.C. § 2254.

Petitioner John Aldon Corrion is incarcerated with the Michigan Department of Corrections at the

Earnest C. Brooks Correctional Facility, (LRF) in Muskegon Heights, Michigan. Petitioner is

serving sentences imposed in two Livingston County Circuit Court cases: No. 05-015154-FH and

06-016087-FC. In the first case, Petitioner was convicted of assaulting his wife. In the second

case, Petitioner was convicted of soliciting her murder while he was in jail. This is not Petitioner’s

first habeas corpus action challenging these convictions and sentences. On February 25, 2009, in

Corrion v. McKee, No. 2:09-cv-10696 (E.D. Mich.), he filed a petition challenging his conviction

and sentence on the charge of soliciting murder. That petition was dismissed with prejudice on

the merits on July 7, 2011. Petitioner filed a petition in Corrion v. Lafler, No. 2:10-cv-10593 (E.D.

Mich.), on February 11, 2010, challenging his conviction and sentence for assaulting his wife.

That petition was dismissed with prejudice on the merits on April 11, 2013.

               Petitioner has filed subsequent petitions in the United States District Court for the

Eastern District of Michigan challenging his convictions and sentences. See Corrion v. MacLaren,
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No. 14-cv-12579 (E.D. Mich.); Corrion v. Bergh, No. 2:17-cv-10062 (E.D. Mich.). Those

petitions were transferred to the Sixth Circuit Court of Appeals as second or successive.

               Petitioner’s current petition is subject to the “second or successive” provision of

the Antiterrorism and Effective Death Penalty Act, Pub. L. 104-132, 110 Stat. 1214 (AEDPA). 28

U.S.C. § 2244(b); see also Cress v. Palmer, 484 F.3d 844, 852 (6th Cir. 2007). A successive

petition raises grounds identical to those raised and rejected in a prior petition. Kuhlmann v.

Wilson, 477 U.S. 436, 444 n.6 (1986) (plurality) (citing Sanders v. United States, 373 U.S. 1, 15-

17 (1963)); Lonberger v. Marshall, 808 F.2d 1169, 1173 (6th Cir. 1987). A second petition is one

which alleges new and different grounds for relief after a first petition was denied. McCleskey v.

Zant, 499 U.S. 467, 470 (1991); see also Burger v. Zant, 984 F.2d 1129, 1132-33 (11th Cir. 1993)

(distinguishing second petitions and successive petitions).

               A prior dismissal with prejudice has a preclusive effect under § 2244, though a prior

dismissal without prejudice does not. See Stewart v. Martinez-Villareal, 523 U.S. 637, 643-46

(1998). Both dismissals on the merits and certain types of decisions reached before a merits

determination are dismissals with prejudice that have a preclusive effect. Carlson v. Pitcher, 137

F.3d 416, 419 (6th Cir. 1997) (citing Benton v. Washington, 106 F.3d 162, 164 (7th Cir. 1996)).

For example, a dismissal with prejudice based on procedural default is “on the merits” and, thus,

a subsequent habeas application would be second or successive. In re Cook, 215 F.3d 606, 608

(6th Cir. 2000). Similarly, a dismissal on the basis of the statute of limitations is a decision on the

merits, rendering a subsequent application second or successive. See Murray v. Greiner, 394 F.3d

78, 81 (2d Cir. 2005) (“We hold that dismissal of a § 2254 petition for failure to comply with the

one-year statute of limitations constitutes an adjudication on the merits that renders future petitions

under § 2254 challenging the same conviction ‘second or successive’ petitions under § 2244(b).”).



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Petitioner’s previous habeas actions were dismissed on the merits; thus, the instant petition is

second or successive.

               Before a second or successive application may be filed in the district court, the

applicant must move in the court of appeals for an order authorizing the district court to consider

the application. 28 U.S.C. § 2244(b)(3)(A); see also Tyler v. Cain, 533 U.S. 656, 661 n.3 (2001)

(circuit court may authorize the petition upon a prima facie showing that the claim satisfies

§ 2244(b)(2); to survive dismissal in the district court, the application must actually show the

statutory standard). Petitioner did not seek the approval of the Sixth Circuit Court of Appeals

before filing this petition. The appropriate disposition is a transfer of the case to the Sixth Circuit

Court of Appeals pursuant to 28 U.S.C. § 1631. In re Sims, 111 F.3d 45, 47 (6th Cir. 1997).

Accordingly,

               IT IS ORDERED that this application for habeas relief is transferred to the Sixth

Circuit Court of Appeals pursuant to 28 U.S.C. § 1631.


Dated: July 26, 2018                                           /s/ Ray Kent
                                                               United States Magistrate Judge




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